                                                                                                                          Case 2:20-cv-01512-APG-BNW Document 22
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                                                                                                                      8

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                                                                                                                     10                          UNITED STATES DISTRICT COURT

                                                                                                                     11                                 DISTRICT OF NEVADA

                                                                                                                     12 LAURA MARSCHECK,                              CASE NO. 2:20-cv-01512-APG-BNW
                    1980 Festival Plaza Drive, Suite 900


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                                                                                                                     13          Plaintiff,                           JOINT MOTION AND ORDER TO
                                                           Las Vegas, Nevada 89135
BALLARD SPAHR LLP




                                                                                                                                                                      EXTEND TIME FOR JPMORGAN
                                                                                                                     14 v.
                                                                                                                                                                      CHASE BANK, N.A. TO RESPOND TO
                                                                                                                     15 EQUIFAX INFORMATION SERVICES,                 PLAINTIFF’S COMPLAINT
                                                                                                                        LLC; LEXISNEXIS RISK SOLUTIONS;
                                                                                                                     16 JPMORGAN CHASE BANK, N.A.; BANK (Third Request)
                                                                                                                        OF THE WEST
                                                                                                                     17
                                                                                                                              Defendants.
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                                                                                                                     20          Defendant JPMorgan Chase Bank, N.A.’s (Chase) response to Plaintiff Laura
                                                                                                                     21 Marscheck’s complaint currently is due October 13, 2020. Chase has requested, and

                                                                                                                     22 Plaintiff has agreed, that Chase has up to and including October 27, 2020 to respond

                                                                                                                     23 to Plaintiff’s complaint, to provide time for Chase and Plaintiff to continue discussing

                                                                                                                     24 a potential early resolution of the claims asserted against Chase.

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                                                                                                                     26                              [Continued on following page.]
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                                                                                                                      1           This is the third request for a brief extension, and it is made in good faith and

                                                                                                                      2 not for purposes of delay.

                                                                                                                      3 Dated: October 13, 2020

                                                                                                                      4 BALLARD SPAHR LLP                                KRIEGER LAW GROUP
                                                                                                                      5
                                                                                                                        By: /s/ Lindsay Demaree                          By: /s/ Shaina R. Plaksin
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                                                           Las Vegas, Nevada 89135
BALLARD SPAHR LLP




                                                                                                                                                                         Attorneys for Plaintiff
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                                                                                                                     16 IT IS SO ORDERED
                                                                                                                                                                  ORDER
                                                                                                                     17
                                                                                                                          DATED: 2:53 pm, October 16, 2020 IT IS SO ORDERED:
                                                                                                                     18
                                                                                                                     19
                                                                                                                                                                   UNITED STATES MAGISTRATE JUDGE
                                                                                                                     20
                                                                                                                        BRENDA WEKSLER
                                                                                                                     21 UNITED STATES MAGISTRATEDATED:
                                                                                                                                                JUDGE
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